        Case 19-10737      Doc 11   Filed 04/01/19     Entered 04/01/19 11:09:41   Desc Main
                                UNITED STATES BANKRUPTCY
                                     Document    Page 1 of 1COURT
                                   DISTRICT OF MASSACHUSETTS
                                  Proceeding Memorandum/Order

In Re: Jean Banks                                                   Case/AP Number 19-10737 -FJB
                                                                    Chapter 7

       #10 Motion filed by Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper for Relief from Stay
       Re: 68 Yale Street, Springfield, Massachusetts 01109




COURT ACTION:
_________Hearing held
_________Granted    __________ Approved ___________ Moot
_________ Denied    __________ Denied without prejudice      __________Withdrawn in open court
_________ Overruled __________ Sustained
_________Continued to___________________________________________________________________________
_________Proposed order to be submitted by _____________________________________________________
_________Stipulation to be submitted by_________________________________________________________
_________No appearance by ______________________________________________________________________
Show Cause Order    __________Released     ___________Enforced

DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:

ORDER: No objection having been filed, and good cause having been stated, the movant is hereby
granted relief from the automatic stay to exercise its rights as to the property.




                                           IT IS SO ORDERED:




                                                                                  04/01/2019
                                           ________________________________Dated:________
                                           Frank J. Bailey
                                           United States Bankruptcy Judge
